>
SEAN 'T. WHITE January 10, 2012

swhite@hooverhull.com

917.829.4400 x 109
VIA E-MAIL

Kent Bnitt

Vorys, Sater, Seymour and Pease LLP
22] E. Fourth &t.

Suite 2000, Atrium Two

Cincinnati, OH 45202

Re:  Inre: Eastern Livestock Co., LLC
United States Bankruptcy Court; Southern District of Indiana
Case No. 10-93904-BHL

Dear Kent:

I write to requests dates that the folowing Fifth Third Bank employees are available to be
deposed in connection with the above referenced matter:

Anne Kelly, Relationship Manager for Eastern Livestock;

Dave Fuller, Vice President, Structured Finance Group Team Lead, initial relationship
manager for Eastern Livestock;

Lori Hart, Operations Manager, Structured Finance Group;
Timothy Spurlock, Investigator in the Bank Protection Department;
Sean Kelly, Field Exam Department;

Devon Morse, Investigator;

Sara Chapman;

Amber Whitehouse;

Shannon Hughes;

Patty Voss; and

Darren Steinmann.

BRO oe

mE PON AM DY

rm oO

We would like to take the depositions January 31-February 3. In the event these
individuals are not available, our altemative would be February 14-17. If you have any
questions regarding this matter that you wish to discuss, please do not hesitate to call.

MMA

Sean T. White

STWAkw
611077_1.DOCX/8728-1

H O OG V E R H U Lio. LoL sP AvT T OR WE Y S A T Law
LAL MONUMENT GAIRGLE SWITE 44306 P.O. GOX 44949 INDIANAPOLIS, IN 4¢244.9989

PHONE 317.822.4400 FAX 317.822.0234 wes www.hooverbull.com

